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7                        UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9     JOAN ROY, Individually                )          Case No. 2:17-cv-00046-DMG-FFM
      and On Behalf of All Others Similarly
10    Situated,                             )
                                            )          NOTICE OF VOLUNTARY
11    Plaintiff(s)                          )          DISMISSAL OF ACTION WITH
12                                          )          PREJUDICE AS TO THE NAMED
             vs.                            )          PLAINTIFF AND WITHOUT
13
                                            )          PREJUDICE AS TO THE
14    TRUEACCORD CORP,                      )          PUTATIVE CLASS
15    Defendant.                            )
                                            )
16

17
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
18
      Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
19    prejudice as to the named plaintiff, and without prejudice as to the putative class.
20    Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for
21    summary judgment. Although this case was filed as a class action, no class has
22    been certified, and court approval of this voluntary dismissal is therefore not
23    required under Rule 23(a) of the Federal Rules of Civil Procedure.
24
                                Respectfully submitted this 24th day of March, 2017
25

26                                             By: s/Todd M. Friedman, Esq.
27
                                                 TODD M. FRIEDMAN
                                                 Attorney for Plaintiffs
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                                     Notice of Voluntary Dismissal- 1
     Case 2:17-cv-00046-DMG-FFM Document 9 Filed 03/24/17 Page 2 of 2 Page ID #:37




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      Filed electronically on this 24th day of March, 2017, with:

2     United States District Court CM/ECF system
3
      Notification sent electronically via the Court’s ECF system to:
4

5     Honorable Dolly M. Gee
6
      United States District Court
      Central District of California
7

8     And sent via mail to:
9
      Timothy P. Johnson
10    Barron & Newburger, PC
      1970 Old Tustin Avenue, Second Floor
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      Santa Ana, CA 92705
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13
      s/Todd M. Friedman, Esq.
14
      TODD M. FRIEDMAN
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                                       Notice of Voluntary Dismissal- 2
